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Exhibit A
Case 1:06-cv-00098-DLH-CSM Document 1-2 Filed 12/14/06 Page 2 of 3

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Welcome to our webpage!

Northwest Airlines offers discount travel coupons that can be
used when booking your flight online or over the phone with
Northwest. Coupons are electronic so you will not need the
coupon at any point in time. Because these coupons are electronic
we can QUICKLY get the coupon codes to you via email so you
can book your flight.

There are tabs on the left hand side that indicate the coupons
currently avaliable. On those pages are tabs to pay securely via
paypal. If you do not have a paypal account you can also use the
same link to pay securely using any major credit card. Once

_ payment is received we will email you the coupon codes along
with helpful booking instructions.

Coupons do not work on all flights so we suggest that you email
us your flight information (dates, locations, 4/or flight#'s) so
we can make sure the coupon will work for YOU.

This website is not affilated with Northwest Airlines and
payments made are for the service we offer NOT for the actual

coupon.

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shove. if payment hes been made & you have yet to receive your coupon codes fwithin o lew
hour) please check your junk‘iuit mai folder.

Discount Travel Ecert

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wouchar or git cedifcate. This is just a coupon

$100 off a $400 or higher fare,
$75 off a fare between $300 and $399,
$50 off a fare between $200 and $299,
$25 off a fare between $75 and $199

